      Case 2:20-mj-04450-DUTY Document 7 Filed 09/17/20 Page 1 of 3 Page ID #:21
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                                                                                          CLERK, U.S. DISTRICT



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                                                                                         CENTRAL DISTRICT OF CALD
                                                                                         BY

                                 UNITED STATES DISTRICT COURT    ~h
                                                               20-MJ-04450
                                CENTRAL DISTRICT OF CALIFORNIA
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  IInited States of America,
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                                                                         ADVISEMENT OF .
            R0~.2 v"T   ~ ~r~n ~~"1~1                                           STATUTORY &
                                                                    DEFENDANT'S
                                                                     CONSTITUTIONAL RIGHTS
                                               Defendant

 You are in the United States District Court for the Central District of California because you.have been charged
 with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
 Court informs you that you have the following constitutional and statutory rights in connection with these
 proceedings:
         You have.the right to remain silent Anything yon sap,sign, or write can be used ~~in~ you in this or in
 any other case.
        Ifyou have not already received a copy ofthe charges,you wiIl receive a copetoday.
         You have the right to lyre and be represented by a lawyer of your choosing at each and every stage of
these proceedings. If you cannot afford to hire a lawyer, you can apply to the Court to have a lawyez appointed
to represent yuu for free from the office of the Federal Public Defender or the Indigent Defense Panel The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjary: If yvn
saysomething on the form that is not true or leave out material information, you could be charged with another
crime,such as perjury or malting a false statement
        If you are not a United States citizen,you may requ~t that the prosecution notify your consular office
that you have been azrested. Even without such a request,the law may require the prosecution to do so.

               IF YOU ARE MAKIl~TG YOUR INIT]'AL APPEARANCE BEFORE TIC COURT
        You have a right to a bail hearing m winch the Magistrafie judge will determine whether you will be
released from custody before trial. If you disagree with the Magistrate Judge's decision, you can appeal that
deasion to another Judge ofthis Court You or the prosecutor can request thatthe bail hearing be continued to
another day.
       If you have been charged by complaint, ynu are entitled to a preliminary hearing within 14 days if the
Magistrate judge orders that you be detained pending trial, or 21 days ifthe Magistrate Judge orders that you be
released pending trial. In a preliminary hearing, the prosecution will attempt to show that there is probable
cause to believe that you committed the ¢ime charged in the complaint You will not be entitled to a
preliminary hearing, however,if the prosecution obtains an indictment inyuur case before the time set for the
p           h        (Most often, the prosecutors in the Central District of California present their cases to the
 r
grand       efore e time setfor the preliminazy hearing and,therefore,no preliminary hearing is held)

                            IF YOU ARE CHARGED WITH A VIOLATION OF
                   YOUR CONDITIONS OF SUPBRVISSD RBLHASB OR PROBATION
       If you aze charged with a violation ofthe terms and conditions of your supervised release or probation
and the Magistrate Judge detains you,you have the rightto a preliminary hearing before a Magistirate Jndge.

CIt-10(OCd]e)           ADVLSffi~TsNT OF DEF~TDANrSSTAT~TO$Y do CON5ITTUTIONAI.RIGHTS                   PAC,H l OF2
                                                                                               continued on Page2
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                             IF YOU ARE CHARGED IN ANOTHER DISTRICT ,
        If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy ofthe warrant authorizing your azrest You are also entifled to an identity hearing in which the
prosecution would have the burden of proving there is probable cause to believe that you are the person named
                                                                                                               inary
~n the charges. If y'~n are chazged in a wmplaint from another district, you may request to have a prelim release or
hearing held in the charging district, If you are chazged with a violati   on  of a term  of superv  ised
                                                                                                      depend ing  on
probation imposed in another district, you have a right to a preliminary hearing, ~wluch may,
where the alleged violation occurred,be held either here or in the chazging district
                                                                                                     have your case
         If p+ou want to plead guilty in the Central District of California, you may request to district and the
transferred to this district To proceed in this district, the United States Attorneys for this
 charging district must agree to the transfer.
                               IF YOU ARE APPEARING FOR ARRAIGNMIIVT
                                                                                          and maybe asked to enter
         Ifqou have been charged by indictment or information, you will be arraigned t Judge ofthis Court for
                                                                                    Distric
 a not guilty plea today. After pour arraignment, your case will be assigned. tv a
 all further proceedings,unless a Judge has already been assigned.
                                                                                  trial can be waived.
         You are entitled to a speedy and public trial byjury. The right to ajury
                                                                             e the witnesses against yoU- You aze
          You are e~litled to see and hear the evidence and cross-ezaminbehalf
                                                                  on your           without cost to you if you aze
 eatided to the processes of the Court to subpoena witnessesprosecution has the burden to prove your g~ri1t
 indigent You do not have to prove your innoc~ce. The
  beyond a reasonable doubt

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  I have read the above Advisement ofRights and ings.
  nor do I require an interpreter for court proceed
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       Dated:                                                                5igriaturie o nterprder


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       thereofand thathe/she understands it

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chazging distr~.ct must agree to the transfer.
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nor do I require an interpreter for
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 STATEMENT OP COUNSEL:
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    thereof and that helshe understands it

     Dated:      ~    ~'                                                          gnatr~se     cd~r~sry
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                                                                   8cCONSTITUTIONAL BIGHTS
  CR10 (06!18)          ADVTSBMENT OP DEFENDANTS STATUTORY
